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                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                   EXHIBIT 9
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                                                                        Page 1

 1
 2      IN THE UNITED STATES DISTRICT COURT.
        FOR THE DISTRICT OF SOUTH CAROLINA
 3      COLUMBIA DIVISION
        -------------------------------------x
 4      THE SOUTH CAROLINA STATE CONFERENCE
        OF THE NAACP
 5
                       and
 6
        TAIWAN SCOTT, ON BEHALF OF HIMSELF          Case No.
 7      AND ALL OTHER SIMILARLY SITUATED            3:21-CV-03302
        PERSONS,                                    JMC-TJH-RMG
 8
                               Plaintiffs,
 9
                       Vs.
10
        THOMAS C. ALEXANDER, IN HIS OFFICIAL
11      CAPACITY AS PRESIDENT OF THE SENATE;
        LUKE A. RANKIN, IN HIS OFFICIAL CAPACITY
12      AS CHAIRMAN OF THE SENATE JUDICIARY
        COMMITTEE; MURRELL SMITH, IN HIS OFFICIAL
13      CAPACITY AS SPEAKER OF THE HOUSE OF
        REPRESENTATIVES; CHRIS MURPHY, IN HIS
14      OFFICIAL CAPACITY AS CHAIRMAN OF THE
        HOUSE OF REPRESENTATIVES JUDICIARY
15      COMMITTEE; WALLACE H. JORDAN, IN HIS
        OFFICIAL CAPACITY AS CHAIRMAN OF THE HOUSE
16      OF REPRESENTATIVES ELECTIONS LAW
        SUBCOMMITTEE; HOWARD KNAPP, IN HIS
17      OFFICIAL CAPACITY AS INTERIM EXECUTIVE
        DIRECTOR OF THE SOUTH CAROLINA STATE
18      ELECTION COMMISSION; JOHN WELLS, JOANNE
        DAY, CLIFFORD J. EDLER, LINDA MCCALL,
19      AND SCOTT MOSELEY, IN THEIR OFFICIAL
        CAPACITIES AS MEMBERS OF THE SOUTH
20      CAROLINA STATE ELECTION COMMISSION,
21                             Defendants.
        ----------------------------------------x
22
           STENOGRAPHIC REMOTE VIRTUAL DEPOSITION
23                     BREEDEN JOHN
                 Tuesday, August 9, 2022
24
25

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                                                Page 266                                           Page 268
     1               JOHN                                   1              JOHN
     2      A. Yes.                                         2      A. That's correct. That's
     3      Q. Would you agree that not                     3   correct.
     4   every guideline in the redistricting               4      Q. And were you aware that the
     5   guidelines is applicable to every                  5   court there actually held that the
     6   single line drawn?                                 6   defendants disproved that race was a
     7      A. Yeah. In a perfect world                     7   predominant factor?
     8   you may be able -- that may be the                 8      A. That's what I was trying to
     9   case but it's just not how it plays                9   harken back to earlier in my
    10   out.                                              10   conversation with Mr. Cusick that --
    11      Q. And tensions that rise in                   11   yes, that's what I was trying to
    12   the guidelines for any specific cuts              12   relay.
    13   were resolved by political                        13      Q. So it wasn't just a failure
    14   directions, were they not?                        14   of the plaintiffs' burden of proof,
    15      A. They were.                                  15   they found that the defendants
    16      Q. There's nothing wrong with                  16   disproved it, did they not?
    17   that, is there?                                   17      A. That's correct.
    18      A. No. It's part of the                        18      Q. So in light of all that did
    19   legislative process.                              19   you see any issues with starting
    20      Q. Are you aware of any legal                  20   with the benchmark plan and tweaking
    21   requirement or any requirement in                 21   accordingly based on population
    22   the guidelines for the Senate to                  22   changes?
    23   start with a blank slate?                         23      A. Not at all. No problem.
    24      A. No.                                         24      Q. Mr. John, you were involved
    25      Q. Did it make more sense to                   25   in this process from day one, right?
                                                Page 267                                           Page 269
     1              JOHN                                    1              JOHN
     2   use the starting point, a map that                 2      A. Pretty much, yes.
     3   was blessed by the Supreme Court of                3      Q. Are you aware of anything
     4   the United States and survived                     4   in law or in fact that would in any
     5   racial gerrymandering claims and                   5   way suggest the notion that race was
     6   section 2 claims?                                  6   a predominant factor in drawing the
     7      A. Yes. It certainly makes a                    7   plan for Congress that was enacted
     8   lot more sense.                                    8   by the General Assembly?
     9      Q. Was that especially the                      9      A. No. And that's part of why
    10   case when the 7th Districts were in               10   I was so disappointed with the
    11   the high 90s of the deviation for                 11   testimony we received at the
    12   population?                                       12   November 29th hearing from former
    13      A. Right. It was the most                      13   Congressman Cunningham. We all felt
    14   logical starting point in my                      14   good about the process and that
    15   opinion.                                          15   everything was done appropriately
    16      Q. Were you aware that the                     16   and to hear some of the accusations
    17   Backus case, that's B-A-C-K-U-S,                  17   was a little disappointing.
    18   that was litigated last cycle for                 18      Q. And are you aware that the
    19   redistricting involved a racial                   19   plaintiffs have not challenged
    20   gerrymandering claim?                             20   congressional District 6, correct?
    21      A. That was my impression.                     21      A. Yes, I'm aware.
    22   Yes, I was aware.                                 22      Q. And you are also aware that
    23      Q. So it wasn't decided                        23   the enacted plan has Congressional
    24   specifically on section 5 grounds,                24   District 1 with a higher BVAP than
    25   was it?                                           25   the benchmark plan, correct?
                                                                                     68 (Pages 266 - 269)
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